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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

RICHARD ALEXANDER WILLIAMS,

                    Plaintiff,
v.                                            Case No. 1:13-cv-00222-MW-GRJ

FIRST ADVANTAGE LNS SCREENING
SOLUTIONS, INC. f/k/a LEXISNEXIS
SCREENING SOLUTIONS, INC.,

                    Defendant.
                                                         /

 DEFENDANT’S UNOPPOSED MOTION TO STAY ENFORCEMENT OF
    JUDGMENT AND NOTICE OF FILING SUPERSEDEAS BOND

      Defendant FIRST ADVANTAGE BACKGROUND SERVICES CORP., by

its attorneys and pursuant to Rule 62 of the Federal Rules of Civil Procedure,

hereby moves the Court for an Order staying execution of or any proceedings to

enforce the judgment entered in this action pending the disposition of First

Advantage’s appeal to the United States Court of Appeals for the Eleventh Circuit.

First Advantage asks that upon the Court’s approval of the bond and once First

Advantage posts the bond, the Court stay any and all proceedings pertaining to the

execution and/or enforcement of judgment in this action, with the stay remaining in

force during: (1) all proceedings on appeal to the United States Court of Appeals for

the Eleventh Circuit; (2) proceedings related to any Petition for Writ of Certiorari to

the United States Supreme Court; (3) any subsequent proceedings on the merits in
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the Supreme Court; and (4) any subsequent proceedings before the District Court,

either due to remand or relating to the determination of any fees or costs assessed

by the District Court. Plaintiff does not oppose this motion and agrees to the

amount of the bond to be posted with this Court ($4,100,000.00).

      WHEREFORE, Defendant respectfully requests that the Court enter an Order

staying execution of or any proceedings to enforce the judgment entered in this

action pending the disposition of First Advantage’s appeal. The specific bases for

Defendant’s motion are set forth in its memorandum of law filed

contemporaneously herewith.

                                 Respectfully submitted,

                                 FIRST ADVANTAGE BACKGROUND
                                 SERVICES CORP.
                                           By /s/ Joseph Turner
                                           Joseph Turner
                                           Illinois Bar No. 6195834
                                           jturner@seyfarth.com
                                           Jason M. Torres
                                           Illinois Bar No. 6278611
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                                           233 S. Wacker
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                                           Telephone: (312) 460-5000
                                           Facsimile: (312) 460-7000

                                           Lead Counsel for First Advantage
                                           Background Services Corp.

Date: March 31, 2017


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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

RICHARD ALEXANDER WILLIAMS,

                   Plaintiff,
v.                                            Case No. 1:13-cv-00222-MW-GRJ

FIRST ADVANTAGE LNS SCREENING
SOLUTIONS, INC. f/k/a LEXISNEXIS
SCREENING SOLUTIONS, INC.,

                   Defendant.
                                                      /

                         CERTIFICATE OF SERVICE

      I certify that on March 31, 2017, I electronically filed DEFENDANT’S

UNOPPOSED MOTION TO STAY ENFORCEMENT OF JUDGMENT

AND NOTICE OF FILING SUPERSEDEAS BOND with the Clerk of Court

using the CM/ECF system, which will automatically send e-mail notification of

such filing to the following attorneys of record:

 Barry S. Balmuth                             Michael Massey
 Barry S. Balmuth, B.C.S.                     Massey & Duffy, PLLC
 2505 Burns Road                              855 E. University Avenue
 Palm Beach Gardens, Florida 33410            Gainesville, Florida 32601


                                           /s/ Joseph Turner
                                           Counsel for Defendant
